444 F.2d 529
    Harold A. DUREL, Plaintiff-Appellant,v.The SOUTHERN PACIFIC RAILROAD, Defendant-Appellee, AetnaCasualty &amp; Surety Company, Intervenor-Appellee.No. 31028 Summary Calendar.**Rule 18, 5th Cir.; see Isbell Enterprisesv.Citizens Casualty Co. of N.Y., 431 F.2d 409, Part I (5th Cir. 1970).
    United States Court of Appeals, Fifth Circuit.
    June 25, 1971.
    
      Gibson Tucker, Jr., New Orleans, La., Howard B. DeJean, Jr., Opelousas, La., Tucker &amp; Schonekas, New Orleans, La., for plaintiff-appellant.
      Richard C. Meaux, Davidson, Meaux, Onebane &amp; Donohoe, Lafayette, La., for Southern Pacific.
      Patrick A. Juneau, Jr., Lafayette, La., for Aetna.
      Appeal from the United States District Court for the Western District of Louisians; Richard J. Putnam, District Judge.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 430 F.2d 966 (5th Cir. 1970)
      
    
    